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      Exhibit 33
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San Francisco apartment where disgraced Theranos
founder Elizabeth Holmes lived with her fiancé
    dailymail.co.uk/news/article-7037625/San-Francisco-apartment-disgraced-Theranos-founder-Elizabeth-Holmes-lived-
fianc.html

                                                                                                       May 16, 2019


Inside the San Francisco apartment where disgraced Theranos
founder Elizabeth Holmes lived with her new hotel heir fiancé during
her fall from grace
       The San Francisco Lombard Place Apartments home Elizabeth Holmes lived in
       available for rent
       Disgraced former Theranos CEO lived there with her hotel heir fiancé Billy Evans
       and her Siberian husky dog
       It has two bedrooms and two bathrooms, plus 'views that kill' of the Golden Gate
       Bridge
       The expansive interiors include a wooden flooring, a dishwasher, efficient
       appliances, and a washer-dryer
       Listing says it has beauty and grace and no deposit is required to move in just a
       $95 non-refundable fee
       The new lease must be signed by May 31 and rent costs $5,395 per months plus
       $40 for each pet

By Leah Simpson For Dailymail.com

Published: 13:46 EDT, 16 May 2019 | Updated: 16:03 EDT, 16 May 2019




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The San Francisco apartment where disgraced Theranos founder Elizabeth Holmes lived
with her hotel heir fiance is now available for rent, and will set you back $5,395 a month.


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The pad is listed on RentSFnow.com and is described as having 'beauty, grace and views
that kill', but is surprisingly modest for the 35-year-old, who in 2014 was dubbed the
youngest woman to become a self-made billionaire.

The property at 1340 Lombard Street is a humble two-bedroom, two-bathroom abode
compared to the mansion she lived in before her spectacular fall from grace, but it includes
jaw-dropping views of the Golden Gate Bridge.

Holmes has now moved out as she awaits trial on multiple accounts of fraud for lying to
doctors and patients about her blood-testing startup, and faces 20 years in prison if
convicted.




The Lombard Place Apartments home Elizabeth Holmes lived in is for rent as the disgraced
former Theranos CEO moves out




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The biggest perk of #303 at 1340 Lombard Street is the glorious view of the Golden Gate
Bridge and San Francisco Bay




Interior images show the bridge in the left hand corner of one of the rooms at the two-
bedroom home by the bay


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Elizabeth Holmes arrives at the Robert F. Peckham U.S. Federal Court on April 22, 2019 in
San Jose, California (left). She is pictured with her hotel heir fiancé and roommate Billy
Evans (right)

Images of the Russian Hill apartment show the iconic landmark through one of the many
windows lining the walls and letting light flow in.

The raised Lombard Place Apartments property is described as 'bright, and airy' with 'top-of-
the-world views and expansive interiors'.




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Upon entering the apartment, the kitchen is the first thing visitors see. Double doors separate
other rooms.

'Perks include beautiful hardwood floors, top-notch finishes in the kitchen and bath, and built-
in storage throughout,' the listing states.

The 'cable-ready' also comes equipped with a dishwasher, efficient appliances, and a
washer-dryer.




The apartment that comes cable-ready is situated in the Russian Hill neighborhood of the
city known for its small spaces




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Lombard Place Apartments is described in the online rental listing as being 'beautiful' and
having 'grace'. The entrance to the building is pictured




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The building includes a bright and plush lobby area that residents and their guests walk
through to get to apartments

Dogs and cats under 40 pounds are welcome at the pad and there's certainly enough room
for pets to roam around in the city which is known for its tiny living spaces at sky-high prices.

But the next renter will have to pay up an extra $40 per month to have a furry friend stay.

Holmes enjoyed the perk as she resided with her Siberian husky named Balto.

No. 303's next renter won't even need to put down a security deposit as long as they pass
credit checks.

As part of a $95 move-in special the person or people moving in will only have to pay the
non-refundable fee plus the first month's rent.




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Perks include hardwood floors, top-notch finishes in the kitchen and bath, and built-in
storage throughout the apartment




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This is a view of from one of the windows in the property that Holmes is leaving. The bridge
is visible as part of the backdrop




The spacious apartment with double doors separating rooms, must be snapped up by May
31. Now deposit is required but the resident is responsible for any damage costs when they
move out

However the resident is responsible for any damage costs when they move out.

But those who see themselves living in the abode had better act quickly - the lease must be
signed by May 31.

There's a good chance those interested in living where Holmes, 35, stayed with her Evans
Hotel Group heir fiancé Billy Evans, 27, may have seen her in the recent documentary The
Inventor: Out for Blood in Silicon Valley.

It documents how the woman Forbes in 2014 named the youngest self-made female
billionaire, fell from grace when it emerged she had lied about revolutionizing pinprick blood
testing.

When the company was valued at $9billion, Holmes lived in Los Altos, near the HQ, which
closed a few months after she and former Theranos President Ramesh 'Sunny' Balwani were
charged with 11 counts of wire fraud and conspiracy to commit wire fraud in June 2018.

Holmes was pictured arriving at the Robert F. Peckham U.S. Federal Court on April 22 in
San Jose, California.



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Her trial date is set for July 8 and she could spend 20 years in prison if convicted.




Upon entering the apartment, the kitchen is the first thing visitors see. It comes equipped
with appliances




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The property has two bathrooms and is described as 'light and airy'. But the new renter must
sign before May 31




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The apartment is even spacious enough to have a washer-drying inside the unit - a rare thing
in the city known for tiny spaces

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